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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                      Case No. 17-30102-H2
         Courtney Slenk

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       David G. Peake, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 01/03/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 02/22/2017.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 6.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                 $0.00
       Less amount refunded to debtor                           $0.00

NET RECEIPTS:                                                                                     $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                             $0.00
    Court Costs                                                       $0.00
    Trustee Expenses & Compensation                                   $0.00
    Other                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $0.00

Attorney fees paid and disclosed by debtor:                $0.00


Scheduled Creditors:
Creditor                                    Claim       Claim         Claim        Principal       Int.
Name                            Class     Scheduled    Asserted      Allowed         Paid          Paid
PROSPERITY BANK - VICTORIA   Unsecured            NA          5.99          5.99           0.00        0.00
PROSPERITY BANK - VICTORIA   Unsecured            NA        969.88        969.88           0.00        0.00
PROSPERITY BANK - VICTORIA   Unsecured            NA        197.38        197.38           0.00        0.00
PROSPERITY BANK - VICTORIA   Unsecured            NA      1,382.21      1,382.21           0.00        0.00
TGSLC                        Unsecured            NA      2,890.84      2,890.84           0.00        0.00
VERIZON                      Unsecured            NA        620.97        620.97           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $6,067.27               $0.00             $0.00


Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                             $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/23/2017                             By:/s/ David G. Peake
                                                 David G. Peake
                                                 Chapter 13 Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                 CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the foregoing Trustee's Final Report has been
served electronically on all parties requesting electronic notice and has been served on the listed
parties (if listed) by mailing a copy of same to the address listed below via first class mail June
23, 2017.


                                                 /s/ David G. Peake
                                                 David G. Peake
                                                 Chapter 13 Trustee


Courtney Slenk
2402 Barak Lane
Bryan, TX 77802

REESE W BAKER
BAKER & ASSOCIATES
5151 KATY FREEWAY SUITE 200
HOUSTON, TX 77007

OFFICE OF THE US TRUSTEE
515 RUSK AVE.
STE 3516
HOUSTON, TX 77002




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